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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA          )
                                  )          CRIMINAL ACTION NO.
    v.                            )              2:05cr66-MHT
                                  )                  (WO)
JOHN DARTER                       )

                                ORDER

    Based on the representations made on the record on

September 29, 2015, it is ORDERED as follows:

    (1) The      government’s         oral     motion    to    dismiss

         (doc. no. 309) is granted.

    (2) The revocation petition (doc. no. 298) against

         defendant John Darter is dismissed.

    DONE, this the 30th day of September, 2015.

                                     /s/ Myron H. Thompson___
                                  UNITED STATES DISTRICT JUDGE
